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                                           U.S. Department of Justice
  [Type text]
                                                         United States Attorney
                                                         Southern District of New York
                                                         The Silvio J. Mollo Building
                                                         One Saint Andrew’s Plaza
                                                         New York, New York 10007

                                                         November 9, 2020
  BY ECF

  The Honorable Richard M. Berman
  United States District Judge
  Southern District of New York
  500 Pearl Street
  Daniel Patrick Moynihan U.S. Courthouse
  New York, New York 10007

         Re:     United States v. Stefan Gillier, 11 Cr. 409 (RMB)

  Dear Judge Berman:

           A status conference is currently scheduled in the above-captioned case for Monday,
  November 16, 2020 at 11:30 a.m. The parties jointly and respectfully submit this letter to update
  the Court and to request an approximately two-month adjournment of this status conference, if
  acceptable to the Court. By way of update, the Government has recently made several additional
  productions of discovery, totaling several thousand pages (e.g., emails, bank records, government
  reports, business records, etc.). Since the last conference in September, the defense has reviewed
  and analyzed discovery, as well as shipped printed versions of previously produced discovery to
  the defendant. Discovery remains ongoing, though the Government has produced the majority of
  Rule 16 material. In light of these updates, the parties respectfully request an approximately two-
  month adjournment of the upcoming status conference; we anticipate being in a better position to
  address next steps in the case at that time. The Government also requests that the Court exclude
  time, pursuant to the Speedy Trial Act, between November 16, 2020 and the date of the next
  conference, for the continued production and review of discovery, and so that the parties can
  engage in negotiations about a potential pretrial resolution, if appropriate. The defense consents
  to this request. Of course, if preferable for the Court, the parties will appear as currently scheduled.

                                                               Respectfully submitted,
Adjournment granted to 2/22/2021 at                            AUDREY STRAUSS
10:30 am. Time is excluded pursuant to                         Acting United States Attorney
the Speedy Trial Act for the reasons set                       Southern District of New York
forth in this letter.
                                                        By: __________________________
                                                            Michael D. Neff
                                                            Assistant United States Attorney
                                                            (212) 637-2107
  cc:11/9/2020
         Matthew J. Galluzzo, Esq. (by ECF)
